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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Case No. _______________________

  SHANITA TAYLOR,
  and those similarly situated;

         Plaintiffs,
  v.

  REGIONAL TRANSPORTATION DISTRICT, and
  FIRST TRANSIT, INC.,

         Defendants.


                       CLASS ACTION COMPLAINT AND JURY DEMAND


                                  INTRODUCTORY STATEMENT

         1.      This case is about Regional Transportation District’s (RTD’s) and First Transit,

  Inc.’s (First Transit’s) admitted policy of automatically denying employment to potential bus

  drivers with more than ten points on their driver’s licenses, whether or not those points arise

  from violations that might bear on an applicant’s ability to drive safely.

         2.      That policy is described here as the “automatic denial” policy.

         3.      People of color are disproportionately likely to be the subject of traffic stops and

  are disproportionately likely to be ticketed for minor traffic violations, which may increase the

  points on a driver’s record.

         4.      Therefore, Defendants’ automatic denial policy has a disparate impact on people

  of color and violates Title VII of the Civil Rights Act of 1964.

         5.      Although Defendants may permissibly consider an applicant’s driving record in

  evaluating her application to be a bus driver, they must do so through an individualized


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  assessment of each applicant’s driving record to determine whether the record has a bearing on

  the applicant’s capacity to drive safely and effectively as a bus driver for RTD.

         6.      Plaintiff Shanita Taylor is a black African American woman who lives in the

  Denver area.

         7.      Ms. Taylor worked hard to obtain her commercial driver’s license because she

  believed it would allow her to obtain jobs that paid decent wages and provided good benefits.

         8.      When she applied to work for RTD and First Transit as a bus driver, however,

  Ms. Taylor was denied employment due to no other reason than that her driving record had more

  than 10 points in the preceding seven years.

         9.      The vast majority of those points arose from violations that have no bearing on

  Ms. Taylor’s ability to drive safely or effectively for RTD, but Defendants did not undertake an

  individualized assessment of Ms. Taylor’s driving record.

         10.     Ms. Taylor brings this case, on behalf of herself and others similarly situated, to

  obtain damages and other relief for the wrongful denial of her application for employment as a

  bus driver and an injunction that would require RTD and First Transit to perform an

  individualized assessment of each applicant’s driving record.

                                  JURISDICTION AND VENUE

         11.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 (federal

  question).

         12.     Venue is proper pursuant to 28 U.S.C. § 1391. A substantial part of the events

  giving rise to Plaintiffs’ claims occurred in this District, where RTD is located and where First

  Transit operates its buses contracted with RTD.




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                                ADMINISTRATIVE EXHAUSTION

         13.     Plaintiff timely filed Charges of Discrimination with the Equal Employment

  Opportunity Commission (“EEOC”) against Defendants First Transit, Inc., (Charge No. 541-

  2019-00686) and RTD (Charge No. 541-2019-00603) alleging illegal discrimination

         14.     Plaintiff received Notices of Right to Sue from the EEOC on September 25, 2019

  on each of her Charges of Discrimination.

         15.     Both of the foregoing Charges were filed on behalf of the Plaintiff Charging Party

  and all those similarly situated.

         16.     Plaintiff is a member of the group of those similarly situated to Plaintiff for

  purposes of Title VII.

         17.     Accordingly, Plaintiff, and all others similarly situated, have exhausted their

  administrative remedies and this action is timely filed as a Rule 23 class action on their behalf.

                                             PLAINTIFF

         18.     Plaintiff is an adult black African American woman.

         19.     At all times material to the allegations of the complaint, Plaintiff was domiciled in

  the District of Colorado.

         20.     While in Colorado, Plaintiff applied to work as a bus driver for Defendants RTD

  and First Transit.

         21.     Defendants RTD and First Transit denied Plaintiff employment to work as a bus

  driver for RTD and First Transit.

                                           DEFENDANTS

         22.     RTD is the regional agency responsible for providing public transportation to the

  metropolitan Denver area.

         23.     RTD’s principal place of business is in Colorado.

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          24.     RTD has a fleet of more than 1,000 buses. Many of them are RTD-owned and

  operated, and many are leased to private carriers.

          25.     Defendant First Transit, Inc., is an Ohio corporation with its principal place of

  business in Ohio.

          26.     First Transit has a contract with RTD to operate more than 100 of RTD’s buses

  and to help hire and manage more than 300 of RTD’s employees in Colorado.

                                      STATEMENT OF FACTS

          27.     Under Colorado law, drivers may be assigned a certain number of “points” per

  traffic violation.

          28.     Points may be assigned for a range of violations from speeding, to driving without

  proof of insurance, to driving with a defective headlamp.

          29.     There is abundant evidence that people of color are disproportionately likely to be

  pulled over in a traffic stop and disproportionately likely to be cited for traffic violations of all

  kinds, including minor traffic violations.

          30.     In official postings advertising bus driver positions, RTD has announced that it

  will not accept job applicants who have “more than five points assessed against [their] motor

  vehicle record in the past two years” and “not more than ten points on the seven year record.”

          31.     First Transit’s contract with RTD specifies that First Transit may not hire bus

  drivers to drive for RTD and First Transit unless those drivers meet certain criteria including that

  they may not have more than ten points on their license in the preceding seven years.

          32.     Pursuant to its contract with RTD, First Transit applies the automatic denial

  policy when it jointly hires and employs RTD drivers.

          33.     Ms. Taylor obtained her CDL in February 2017.



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          34.      In 2017, after she obtained her CDL, Ms. Taylor applied to work as a bus driver

  with RTD.

          35.      RTD informed Ms. Taylor that she could not obtain employment as a bus driver

  because she had more than 10 points assessed against her driving record in the preceding seven-

  year period.

          36.      Those points including points for driving an unsafe vehicle, driving with defective

  headlamps, and failing to provide proof of insurance.

          37.      In 2018, Ms. Taylor saw an advertisement for work as an RTD bus driver through

  First Transit.

          38.      The advertisement specified that applicants did not need to have a CDL to obtain

  employment as an RTD bus driver.

          39.      Because RTD and First Transit were apparently not requiring a CDL to obtain

  employment, Ms. Taylor assumed that the points on her driving record would also not prevent

  her from obtaining employment, especially because the vast majority of the points on her license

  related to her vehicle being defective or not having proof of insurance.

          40.      In March 2018, Ms. Taylor submitted her application to First Transit to apply as a

  bus driver for RTD and First Transit.

          41.      First Transit granted Ms. Taylor an interview for the position.

          42.      In the interview, First Transit did not ask Ms. Taylor about her driving record.

          43.      Ms. Taylor received a contingent offer from RTD and First Transit by email after

  her interview.

          44.      However, on April 18, 2018, Ms. Taylor received another letter by email rejecting

  her from the position. She also received a similar letter by mail.



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         45.     At the time Ms. Taylor applied for a position with RTD in 2017, none of the

  points on her record were from convictions for moving violations in the prior seven years.

         46.     At the time Ms. Taylor applied for a position with RTD and First Transit in March

  2018, none of the points on her record were from convictions for moving violations in the prior

  seven years. Rather, six were for driving a defective vehicle, eight were for not having proof of

  insurance or driving without insurance, and one was for defective headlamps.

         47.     Ms. Taylor believes that were she white, she would not have received many of the

  points on her driving record.

         48.     For example, Ms. Taylor was assessed points for not having proof of insurance

  when two police cars pulled her over for no clear reason after having followed her out of a

  convenience store parking lot.

         49.     Had RTD and First Transit performed an individualized assessment of Ms.

  Taylor’s driving record, she would not have been denied employment with RTD and First

  Transit.

         50.     Were it not for the automatic denial policy, Ms. Taylor would apply in the future

  for a bus driver position with RTD or with First Transit to work for First Transit and RTD.

                                  RULE 23 CLASS ALLEGATIONS

         51.     Plaintiff incorporates by reference all previous and subsequent paragraphs of this

  Complaint as if fully rewritten herein.

         52.     Plaintiff asserts her Count I as a Fed R. Civ P. 23 class action on their own behalf

  and on behalf of classes for which they seek certification.

         53.     Pending any modifications necessitated by discovery, Plaintiff preliminarily

  defines the classes as follows:



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                   DAMAGES CLASS:

                   ALL PEOPLE WHO IDENTIFY AS BLACK OR LATINO AND
                   WHO HAVE APPLIED TO RTD OR FIRST TRANSIT AS A
                   BUS DRIVER BUT WHOSE APPLICATIONS WERE
                   REJECTED BECAUSE THEY HAD MORE THAN TEN
                   POINTS ON THEIR DRIVER’S LICENSE IN THE SEVEN
                   YEARS PRECEDING THEIR APPLICATION

                   INJUNCTION CLASS:

                   ALL PEOPLE WHO IDENTIFY AS BLACK OR LATINO WHO
                   HAVE MORE THAN TEN POINTS ON THEIR DRIVER’S
                   LICENSE IN THE PRIOR TEN YEARS AND WHO WOULD
                   APPLY FOR EMPLOYMENT AS A BUS DRIVER WITH RTD
                   OR FIRST TRANSIT WERE IT NOT FOR DEFENDANTS’
                   AUTOMATIC DENIAL POLICY

         54.       The classes are so numerous that joinder of all potential class members is

  impracticable.

         55.       There are questions of law or fact common to the classes that predominate over

  any individual issues that might exist. Common questions of law and fact include whether

  Defendants’ policy and practice of automatically rejecting applicants based on the number of

  points on their driving records violates Title VII because it has a disparate impact on black and

  Latino applicants.

         56.       The class claims asserted by Plaintiff are typical of the claims of all the potential

  Class Members. A class action is superior to other available methods for the fair and efficient

  adjudication of this controversy because numerous identical lawsuits alleging similar or identical

  causes of action would not serve the interests of judicial economy. This is especially true in the

  case of relatively low-wage, minority bus driver applicants, like the class members here, who are

  unlikely to seek, or be able to retain, legal representation on their own.




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          57.     Plaintiff will fairly and adequately protect and represent the interests of the class.

  She applied to work for Defendants and was a victim of the same violations of law as the other

  class members, including violations of the federal anti-discrimination laws.

          58.     Plaintiff is represented by counsel experienced in litigating employment claims.

          59.     The prosecution of separate actions by the individual putative class members

  would create a risk of inconsistent or varying adjudications with respect to individual potential

  class members that would establish incompatible standards of conduct for Defendants.

          60.     Each Class Member’s claim is relatively small. Thus, the interest of potential

  Class Members in individually controlling the prosecution or defense of separate actions is

  slight. In addition, public policy supports the broad remedial purposes of class actions in general

  and that the pertinent federal laws are appropriate vehicles to vindicate the rights of those

  employees with small claims as part of the larger class.

          61.     Plaintiff is unaware of any members of the putative classes who are interested in

  presenting their claims in a separate action.

          62.     Plaintiff is unaware of any pending litigation commenced by putative class

  members.

          63.     It is desirable to concentrate this litigation in this forum because the positions

  applied for existed in this jurisdiction and Plaintiff is domiciled in this jurisdiction.

          64.     This class action will not be difficult to manage due to the uniformity of claims

  among putative class members and the susceptibility of these discrimination claims to both class

  litigation and the use of representative testimony and representative documentary evidence.




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                                         COUNT I:
                   DISCRIMINATION ON THE BASIS OF RACE AND COLOR,
                            TITLE VII, 42 U.S.C. § 2000E ET SEQ.

   Plaintiff and the Rule 23 Damages Class and Rule 23 Injunction Class vs. All Defendants

         65.       Plaintiff incorporates by reference all previous and subsequent paragraphs of this

  Complaint.

         66.       Plaintiff is black and African America and within the classes protected by Title

  VII.

         67.       Defendants First Transit and RTD are each an employer for purposes of Title VII.

         68.       Plaintiff applied to work for Defendant RTD in 2017 and 2018.

         69.       In 2018, Plaintiff applied to work for Defendant First Transit to be jointly

  employed by RTD and First Transit.

         70.       Defendants rejected Plaintiff’s applications to work for RTD and First Transit.

         71.       Both Defendants adopted a specific policy and/or practice that significantly

  disparately impacted Plaintiff and those similarly situated based on their race and national origin.

         72.       RTD has a policy and/or practice of rejecting applicants applying for bus driver

  positions based on the number of points on their driving record without considering the source or

  type of violation resulting in the points.

         73.       First Transit employs the same policy and/or practice when hiring for the

  positions it manages through its contract with RTD.

         74.       RTD and First Transit’s automatic denial policy has a disparate impact on

  minorities because people of color are stopped at disproportionately higher rates compared to

  white drivers.




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         75.     Defendants have no legitimate business justification for this policy and/or

  practice.

         76.     One or more alternate practices that would not cause a significant disparate

  impact would equally meet Defendants’ business needs.

         77.     Alternate practices include evaluating the type and source of the violations giving

  rise to points on applicants’ driving records when determining whether an applicant should be

  rejected based on their driving records.

         78.     RTD and First Transit’s use of points adversely impacts job opportunities for

  minority candidates.

         79.     RTD and First Transit’s actions described herein were intentional and taken with

  malice and with reckless indifference to Plaintiff’s federally protected rights.

         80.     Defendants failed to take reasonable care to prevent and to correct the unlawful

  discriminatory practices described herein.

         81.     As a direct and proximate cause of Defendants’ discriminatory actions and

  conduct, Plaintiff suffered, and will continue to suffer damages including, but not limited to, loss

  of salary wages, earnings and benefits; diminution of future earning capacity; loss of

  accumulated benefits, emotional distress and other compensatory damages in an amount to be

  determined at trial; punitive damages in an amount to be determined at trial; and attorney’s fees

  and costs.

                                   DEMAND FOR JURY TRIAL

         82. Plaintiff demands a trial by jury for all issues so triable.

                                       PRAYER FOR RELIEF

         83. Plaintiffs respectfully request an Order from this Court:



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                     a. Certifying the Rule 23 classes, naming the named Plaintiff class

                         representative, and naming Plaintiff’s counsel class counsel;

                     b. granting judgment in favor of Plaintiff and against all Defendants;

                     c. awarding Plaintiff and the Rule 23 classes their damages and penalties

                         under state laws;

                     d. awarding Plaintiff and those similarly situated their costs;

                     e. awarding Plaintiff and those similarly situated their attorney’s fees;

                     f. awarding Plaintiff and members of the classes all appropriate equitable

                         and injunctive relief;

                     g. granting such other relief as this Court deems just and proper;

                     h. injunctive relief prohibiting Defendants from future discriminatory and

                         illegal practices as described herein and requiring Defendants to adopt

                         policies and procedures to eradicate the effects of past discriminatory

                         and illegal practices;

                     i. compensatory damages, including for emotional distress, as allowed by

                         law;

                     j. punitive, exemplary, and liquidated damages as allowed by law;

                     k. awarding Plaintiffs and those similarly situated prejudgment and post-

                         judgment interest, when allowable by law.

  Respectfully submitted this 23rd day of December 2019.


                                              s/David H. Seligman           ___
                                              David H. Seligman
                                              Juno Turner
                                              Brianne Power
                                              Towards Justice

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